     Case 4:17-cr-00293-BSM Document 1671 Filed 09/25/20 Page 1 of 12

                                                                           asJ•S. DISTRICT C<llJRT
                                                                               RN DISTRICT ARKANSAS
                                                                                   FILED
                        IN THE UNITED STATES DISTRICT COURT                       SEP 2 5 2020
                           EASTERN DISTRICT OF ARKANSAS
                                                                                   IN OPEN COURT
                                                                        ~l:S W. ~ C K , CLERK
UNITED STATES OF AMERICA                     )                                     DEPUTY    RK
                                             )
v.                                           )   No. 4:17CR00293-12 BSM
                                             )
RICHARD K. HAMPTON                           )


                                     PLEA AGREEMENT

       The United States Attorney for the Eastern District of Arkansas, Cody Hiland, by and

through Liza Jane Brown, Assistant United States Attorney, and Richard K. Hampton, defendant,

represented by the undersigned counsel, hereby agree to the following terms and conditions in

connection with the above referenced proceedings.

       1.      GUILTY PLEA:         The defendant will enter a· plea of guilty to Conspiracy to

Distribute and Possess with Intent to Distribute at least 500 grams of a mixture or substance

containing a detectable amount of methamphetamine, a violation of Title 21, United States Code,

Sections 846 and 841(b)(l)(A), as set forth in Count 10 of the Superseding Indictment. This is a

Federal Rule of Criminal Procedure 11 (c)(1 )(A) and (B) plea agreement.

       2.      ELEMENTS OF THE CRIME: The parties agree the elements of the offense to

which the defendant will plead guilty are:

       A. Two or more persons reached an agreement or came to an understanding to commit
       an offense, namely Possession with Intent to Distribute and Distribution of a mixture and
       substance containing methamphetamine;

       B. The defendant voluntarily and intentionally joined in the agreement or understanding
       either at the time it was first reached or at some later time while it was still in effect;

       C. At the time the defendant joined in the agreement or understanding, he knew the
       purpose of the agreement or understanding; and




                                                 1
        Case 4:17-cr-00293-BSM Document 1671 Filed 09/25/20 Page 2 of 12




       D.     The agreement or understanding involved 500 grams or more of a mixture or
substance containing methamphetamine.

         The defendant agrees that he is guilty of the offense charged and each of these elements is

true.

         3.     PENAL TIES:

                A.      STATUTORY PENALTIES: The penalty for the charge set forth in Count

10 is not less than 10 years, and up to life imprisonment, a fine of not more than $10,000,000, not

less than 5 years supervised release, and a $100 special assessment.

                B.      SUPERVISED RELEASE:              Supervised release 1s a period of time

following imprisonment during which defendant will be subject to various restrictions and

requirements. Defendant understands that if defendant violates one or more of the conditions of

any supervised release imposed, the defendant may be returned to prison for all or part of the term

of supervised release, which could result in defendant serving a total term of imprisonment greater

than the statutory maximum stated above.

         4.     WAIVERS:       The defendant acknowledges that he has been advised of and fully

understands the nature of the charges to which the plea is offered, the mandatory minimum penalty

provided by law, if any, and the maximum possible penalty provided by law. The defendant

further understands that by entering into this Agreement and Addendum, he is waiving certain

constitutional rights, including, without limitation, the following:

                A.      The right to appeal or collaterally attack, to the full extent of the law, all

non-jurisdictional issues, including any forfeiture or restitution order, as follows:

                        (1)    the defendant waives the right to appeal all non-jurisdictional issues

including, but not limited to, any issues relating to pre-trial motions, hearings and discovery and

any issues relating to the negotiation, taking or acceptance of the guilty plea or the factual basis


                                                  2
     Case 4:17-cr-00293-BSM Document 1671 Filed 09/25/20 Page 3 of 12




for the plea, including the sentence imposed or any issues that relate to the establishment of the

Guideline range, except that the defendant reserves the right to appeal claims of prosecutorial

misconduct and the defendant reserves the right to appeal the sentence if the defendant makes a

contemporaneous objection because the sentence imposed is above the Guideline range that is

established at sentencing;

                       (2)     the defendant expressly acknowledges and agrees that the United

States reserves its right to appeal the defendant's sentence under Title 18, United States Code,

Section 3742(b) and United States v. Booker, 543 U.S. 220 (2005);

                       (3)     the defendant waives all rights to collaterally attack the conviction

and sentence in any post-conviction proceeding, including one pursuant to Title 28, United States

Code, Section 2255, except for claims based on ineffective assistance of counsel or prosecutorial

misconduct;

                       (4)     the defendant waives the right to have the sentence modified

pursuant to Title 18, United States Code, Section 3582(c)(2);

                       (5)     the defendant waives the right to appeal the Court's determination

of the amount of restitution and subsequent restitution order, if any; and,

                       (6)     the defendant waives the right to appeal the Court's determination

of any forfeiture issues and subsequent forfeiture order, if any.

               B.      The right to plead not guilty or to persist in that plea if it has already been

made, and the right to a speedy and public trial before a jury;

               C.      The right to be presumed innocent and to have the burden of proof placed

on the United States to establish guilt beyond a reasonable doubt;

               D.      The right to confront and cross examine witnesses;



                                                  3
     Case 4:17-cr-00293-BSM Document 1671 Filed 09/25/20 Page 4 of 12




                  E.        The right to testify in his own behalf if the defendant so chooses, or, the

right to remain silent and not be compelled to testify, and to have that choice not used against the

defendant;

                  F.        The right to call witnesses and to require those witnesses to appear by

issuing subpoenas.

                  G.        Pursuant to Federal Rule of Criminal Procedure 11 (b)( 1)(0 ), the defendant

understands that upon conviction, a defendant who is not a United States citizen may be removed

from the United States, denied citizenship, and denied admission to the United States in the future.

        5.        STIPULATIONS:             The United States and the defendant stipulate to the

following:

                  A.        BASE OFFENSE LEVEL AGREEMENT: The parties agree that the

base offense level for the offense is determined by the quantity of drugs. The parties agree and

stipulate that the quantity of drugs involved in the offense and reasonably foreseeable to the

defendant, including relevant conduct, is at least 1.5 kilograms, but less than 5 kilograms, of a

mixture or substance containing methamphetamine.                  Thus, the base offense level is 32.

However, nothing in this plea agreement shall prevent the base offense level and/or the defendant's

criminal history category from being calculated under U.S.S.G. § 4B1.1 (Career Offender), if

found to apply in this case.

                  B.        CHAPTER THREE ADJUSTMENTS: The parties agree and stipulate

that, pursuant to Section 3El .1 of the Sentencing Guidelines, the defendant is eligible for a two

(2) level reduction for acceptance of responsibility, unless the defendant takes any action between

the entry of the guilty plea and the imposition of sentence that is inconsistent with acceptance of

responsibility.        If the offense level is 16 or greater, the determination of whether the defendant is



                                                       4
     Case 4:17-cr-00293-BSM Document 1671 Filed 09/25/20 Page 5 of 12




eligible for a third level reduction for acceptance of responsibility will be made by the United

States at the time of sentencing.

               C.      The parties agree that no party will seek any additional offense level

increases or decreases under Section 2D1.1, Chapter 3, or Chapter 5 of the Sentencing Guidelines

except for those specifically identified in this Plea Agreement.

               D.      The defendant specifically waives any and all challenges to the searches,

seizures, arrests, statements, and forfeitures that have taken place as of the date of the execution
                         /


of this plea agreement by the defendant in this investigation by any entity, and in any forum where

the offense may be pursued and/or forfeiture may be sought. Defendant will assist in executing

any requested waiver of challenge and relinquishment of rights to any and all assets that have been

seized to date in this investigation by any participating agency or department, in any forum where

the forfeiture may be sought.

       The parties understand that the Court is not bound by these stipulations. The defendant

further understands that if the Court does not accept this Plea Agreement, the defendant is not

entitled to withdraw the guilty plea or otherwise be released from defendant's obligations under

this Agreement and Addendum.

       6.      SENTENCING GUIDELINES: It is specifically understood by the defendant

that the Sentencing Guidelines are not mandatory but are advisory, and that the Court is to consult

them in determining the appropriate sentence. The defendant understands that the determination

of the applicability of the Guidelines and of the appropriate sentence will be made by the Court.

The defendant is aware that any estimate of the probable sentencing range under the Sentencing

Guidelines that the defendant may have received from the defendant's counsel, the United States,

or the Probation Office, is merely a prediction, not a promise, and is not binding on the United



                                                 5
     Case 4:17-cr-00293-BSM Document 1671 Filed 09/25/20 Page 6 of 12




States, the Probation Office, or the Court. The United States makes no promise or representation

concerning what sentence the defendant will receive and the defendant cannot withdraw a guilty

plea, or otherwise avoid the defendant's obligations under this Agreement and Addendum, based

upon the actual sentence imposed by the Court. The parties understand and agree that if the

guideline range is greater or less than the deferidant or the United States expected it to be, and/or

the sentence imposed by the Court is greater or lesser than anticipated, neither the defendant nor

the United States will be allowed to withdraw, nor request withdrawal of, the guilty plea, nor be

excused from any obligation under this Agreement and Addendum.

       7.      ALLOCUTION: The United States reserves the right to bring any and all facts

which it believes are appropriate to the attention of the Court.

        8.     COOPERATION IN THE SENTENCING PROCESS:

               A.      The defendant agrees to truthfully provide all information to the Probation

Office as is needed for preparation of the pre-sentence report, including, but not limited to, criminal

history information. The defendant shall voluntarily provide a complete and truthful written

accounting of the defendant's criminal history to the Probation Office.

               B.      The defendant agrees to execute all waivers necessary for the preparation

of the pre-sentence report.

               C.      The defendant understands and acknowledges that the defendant's

obligation of disclosure regarding criminal history is not limited to arrests and convictions reported

in computer databases, but requires the defendant to disclose all arrests and/or convictions,

including any juvenile matters, regardless of whether the defendant believes the arrest/conviction

counts under the Sentencing Guidelines.




                                                  6
     Case 4:17-cr-00293-BSM Document 1671 Filed 09/25/20 Page 7 of 12




               D.      The defendant is required to comply with these obligations no later than the

expiration of the date on which objections to the pre-sentence report are due.

       9.      FINANCIAL MATTERS:

               A.      FINANCIAL STATEMENT: The defendant agrees to fully and truthfully

complete a Financial Statement provided by the United States Probation Office.

               B.      FINES: The defendant understands that unless the Court determines that

the defendant is financially unable to pay a fine, the Court must impose a fine pursuant to the

Sentencing Reform Act of 1984.

               C.      SPECIAL PENALTY ASSESSMENT: The defendant agrees to pay to the

United States a special assessment of $100.00 per count, as required by Title 18, United States

Code, Section 3013. This special assessment is to be paid by bank cashier's check or money order

as directed by the Court. Cashier's checks or money orders should be made payable to "Clerk,

United States District Court."

               D.      RESTITUTION: The parties also state that restitution is not applicable,

and that there are no victims who are due restitution from the defendant.

       10.     DOUBLE JEOPARDY AND SUCCESSIVE PROSECUTION: The United

States Attorney for the Eastern District of Arkansas will bring no further charges against the

defendant for any acts or conduct arising out of the events described in the Indictment, which is

the subject of this action, unless the defendant breaches this Agreement and Addendum.

       11.     RECORDS: The defendant hereby waives all rights, whether asserted directly or

by a representative, to request or receive from any department or agency of the United States any

records pertaining to the investigation or prosecution of this case, including without limitation any




                                                 7
     Case 4:17-cr-00293-BSM Document 1671 Filed 09/25/20 Page 8 of 12




records that may be sought under the Freedom of Information Act, 5 U.S.C. Section 552, or the

Privacy Act of 1974, 5 U.S.C. Section 552a.

        12.    CIVIL CLAIMS BY THE GOVERNMENT: Except to the extent otherwis~ -

expressly specified herein, this Agreement and Addendum does not bar or compromise any civil

or administrative claim pending or that may be made against the defendant, including but not

limited to tax matters.

        13.    EFFECT OF DEFENDANT'S BREACH OF PLEA AGREEMENT AND

ADDENDUM:

               A.         Defendant acknowledges and understands that if the defendant violates any

term of this Agreement and Addendum, engages in any further criminal activity prior to

sentencing, or fails to appear for any subsequent proceeding including sentencing, the United

States shall have, in addition to all other rights and remedies otherwise available, the right to:

                           (1)   terminate this Agreement and Addendum; or

                          (2)    proceed with this Agreement and Addendum and

                                 (a)    deny any and all benefits to which the defendant would

otherwise be entitled under the terms of this Agreement and Addendum; and/or

                                 (b)    advocate for any sentencing enhancement that may be

appropriate.

               B.          In the event the United States elects to terminate this Agreement and

Addendum, the United States shall be released from any and all obligations hereunder. The

defendant acknowledges and understands that the agreement of the United States to dismiss any

charge is conditioned upon final resolution of this matter. If this Agreement and Addendum is

terminated or if the defendant's conviction ultimately is overturned, then the United States retains



                                                   8
     Case 4:17-cr-00293-BSM Document 1671 Filed 09/25/20 Page 9 of 12




the right to reinstate any and all dismissed charges and to file any and all charges which were not

filed because of this Agreement and Addendum.

               C.     The defendant hereby knowingly and voluntarily waives any defense based

upon the applicable statute of limitations and/or the Speedy Trial Act, for any charges reinstated

or otherwise filed against the defendant as a result of defendant's breach of this Agreement and

Addendum,, so long as the United States initiates any otherwise time barred action within one year

of termination or revocation of this Agreement and Addendum.

               D.     In the event that the Agreement and Addendum is terminated or if the

defendant successfully moves to withdraw his plea, any statement made by the defendant in

negotiation of, or in reliance on this Agreement and Addendum, including this Agreement, the

stipulations in paragraph 5 of this Agreement, and the plea colloquy, but excepting statements

made pursuant to any proffer agreement entered into between the parties:

                       (1)    may be used in the United States' case in chief and to cross examine

the defendant should he testify in any subsequent proceeding; and/or

                       (2)    any leads derived therefrom may be used by the United States.

The defendant waives any and all rights to the contrary and shall assert no claim under the United

States Constitution, any statute, or any rule of procedure or evidence to the contrary, including

Federal Rule of Evidence 410 and Federal Rule of Criminal Procedure 11 (f). Defendant has been

advised of his rights pursuant to Federal Rule of Evidence 410 and Federal Rule of Criminal

Procedure 1l(f) and waives these rights.

        14.    PARTIES:      This Agreement and Addendum is binding only upon the United

States Attorney's Office for the Eastern District of Arkansas and the defendant. It does not bind


                                                 9
     Case 4:17-cr-00293-BSM Document 1671 Filed 09/25/20 Page 10 of 12




any United States Attorney outside the Eastern District of Arkansas, nor does it bind any other

federal, state or local prosecuting, administrative, or regulatory authority.

        15.    MISCELLANEOUS:

               A.      MODIFICATION:           No term or prov1s1on contained herein may be

modified, amended or waived except by express written agreement signed by the party to be bound ·

thereby.

               B.      HEADINGS AND CAPTIONS:                  Subject headings and captions are

included herein for convenience purposes only and shall not affect the interpretation of this

Agreement and Addendum.

               C.      WAIVER:       No waiver of a breach of any term or provision of this

Agreement and Addendum shall operate or be construed as a waiver of any subsequent breach or

limit or restrict any other right or remedy otherwise available. Any waiver must be expressly

stated in writing signed by the party to be bound thereby.

               D.      RIGHTS AND REMEDIES CUMULATIVE: The rights and remedies of

the United States expressed herein upon any breach hereunder by the defendant are cumulative

and not exclusive of any rights and remedies otherwise available to the United States in the event

of any breach of this Agreement and Addendum by defendant.

               E.      JOINT NEGOTIATION:              This Agreement and Addendum has been

mutually negotiated by the parties hereto, and any uncertainty or ambiguity existing herein shall

not be interpreted against any party by reason of its drafting of this Agreement and Addendum,

but instead shall be interpreted according to the application of the general rules of interpretation

for arms length agreements.


                                                  10
     Case 4:17-cr-00293-BSM Document 1671 Filed 09/25/20 Page 11 of 12




        16.    NO OTHER TERMS: This document and the Addendum completely reflect all

promises, agreements and conditions made between the parties, constitute the entire agreement

between the parties and supersedes any and all prior agreements or understandings between the

parties, oral or written, with respect to the subject matter hereof.

        17.    APPROVALS AND SIGNATURES:

                A.     DEFENDANT: The defendant has read this Agreement and Addendum

and carefully reviewed every part of it with his attorney.             The defendant understands and

voluntarily agrees to the terms and condition of this Agreement and Addendum. Further, the

defendant has consulted with his attorney and fully understands his rights with respect to the

provisions of the United States Sentencing Guidelines which may apply to this case. No other

pr~mises or inducements have been made to the defendant, other than those expressly contained

in this Agreement and Addendum. In addition, no one has threatened or forced the defendant in

any way to enter into this Agreement and Addendum. Defendant further acknowledges that

defendant has entered into this Agreement and Addendum, consciously and deliberately, by

defendant's free choice, and without duress, undue influence or otherwise being forced or

compelled to do so, and this Agreement and Addendum constitutes the legal, valid and binding

obligation of the defendant, fully enforceable against defendant in accordance with its terms.

Finally, the defendant is satisfied with the representation of his attorney in this case.

                B.      DEFENSE COUNSEL:            Defense counsel acknowledges that he is the

attorney for the defendant, and that he has fully and carefully discussed every part of this

Agreement and Addendum with the defendant. Further, defense counsel has fully and carefully

advised the defendant of the defendant's rights, of possible defenses, and of the consequences of

entering into this Agreement and Addendum, including the possible consequences of not
                                         11
    Case 4:17-cr-00293-BSM Document 1671 Filed 09/25/20 Page 12 of 12




complying with this Agreement and Addendum.         To counsel's knowledge, the defendant's

decision to enter into this Agreement and Addendum is an informed and voluntary decision.

       DATED this    2.51"-     dayof   ~~                   ,2020.



                                                   CODY HILAND



                                                     y: Liza J
                                                   Assistant ited      es Attorney
                                                   Arkansas Bar No. 2004183
                                                   Post Office Box 1229
                                                   Little Rock, Arkansas 72203
                                                   (501) 340-2600
                                                   Liza.Brown@usdoj.gov




               '.\-P
Richard K. Hampto
Defendant


Jas~
Attorney for Defendant




                                              12
